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                          EXHIBIT 3
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                        IN THE UNITED STATES DISTRICT COURT FOR
                        THE NORTHERN DISTRICT OF WEST VIRGINIA

                                           Wheeling Division



   DIANA MEY,
   CRAIG CUNNINGHAM,
   STEWART ABRAMSON,
   JAMES SHELTON,                                        Case No.: 5:17-cv-00179-JPB
   DAVID and ROXY VANCE,
   RUSSELL LOCKE, and THOMAS STARK,
   individually and on behalf of a class of all
   persons and entities similarly situated,
                  Plaintiffs,

   v.

   DIRECTV, LLC,

                   Defendant.



                                DECLARATION OF PAULA PHILLIPS

            I, Paula Phillips, declare, pursuant to 28 U.S.C. § 1746 and subject to the penalties of

   perjury, that, to the best of my knowledge, the following is true and correct:

            1.     My name is Paula Phillips. I am over the age of 21 and competent to make this

   declaration, which is based on my own personal knowledge, as well as a review of corporate and

   business records maintained by AT&T Inc. and its affiliated entities.

            2.     I am employed by AT&T Services, Inc. as a litigation manager in its legal

   department. I have held this position since 1991 and have been employed by AT&T Services or

   one of its affiliates since 1984.

            3.     As a litigation manager, I am responsible for, among other things, overseeing the

   response by AT&T Services and its affiliates to various subpoenas and third-party requests for

   documents. In order to perform this responsibility, I have become personally familiar with the

   corporate structure of AT&T Services and its affiliates, including DIRECTV, LLC.



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            4.   DIRECTV, LLC, is a California limited liability corporation with its principal

   place of business in El Segundo, California. West Virginia is not DIRECTV, LLC’s principal

   place of business, and the ultimate decision-making regarding the direction, control and

   coordination of DIRECTV, LLC’s activities does not occur in West Virginia.

            5.   DIRECTV, LLC’s sole member is DIRECTV Holdings LLC. DIRECTV

   Holdings LLC is a Delaware limited liability company with its principal place of business in

   California whose sole member is The DIRECTV Group, Inc. The DIRECTV Group, Inc. is a

   Delaware corporation with its principal place of business in California whose sole shareholder is
   DIRECTV Group Holdings, LLC. DIRECTV Group Holdings, LLC is a Delaware limited

   liability company with its principal place of business in California whose sole member is AT&T

   Inc.

            6.   DIRECTV, LLC’s ultimate parent corporation is AT&T Inc., a publicly held

   Delaware corporation with its principal place of business in Dallas, Texas. DIRECTV, LLC is a

   legally and factually separate entity from any other AT&T corporation.



   I declare under penalty of perjury that the foregoing is true and correct. Executed this 20th day

   of October, 2020




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